       Case 1:25-cv-10676-BEM         Document 31          Filed 03/25/25     Page 1 of 24




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )       No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR TEMPORARY
     RESTRAINING ORDER AND PRELIMINARY INJUNCTION AND STAY OF
                      ADMINISTRATIVE ACTION




                                                  i
      Case 1:25-cv-10676-BEM            Document 31        Filed 03/25/25      Page 2 of 24




                                        INTRODUCTION
       This Court should deny Plaintiffs’ Motion for a Temporary Restraining Order, Preliminary

Injunction, and Stay of Administrative Action (ECF No. 7). Plaintiffs all have final, valid orders

of removal which their motion seeks to stay and challenge in direct contravention of several

jurisdiction stripping provisions in 8 U.S.C. § 1252. First, their motion seeks to interfere with

Immigration and Customs Enforcement’s (“ICE”) execution of those removal orders in violation

of 8 U.S.C. § 1252(g), which strips district courts of jurisdiction over claims arising from ICE’s

decision or action to execute a removal order regardless of the legal or constitutional nature of the

challenge. Second, the relief their motion seeks—“an opportunity to apply for protection from

removal to [a third country]”—is barred by § 1252(a)(5) and (b)(9) because that relief is already

available to them through the administrative process via a motion to reopen. See ECF No. 7 at 1.

       Plaintiffs are also unlikely to succeed on the merits of their claims. Although Plaintiffs

claim that ICE’s “policy or practice of failing to afford meaningful notice and an opportunity to

present a fear-based claim prior to removal to a third country” is “[c]ontrary to the statute and

regulations,” ECF No. 7 at 11, 13, they notably do not identify any statutory or regulatory provision

that mandates a written notice or any particular procedures that must be followed when DHS seeks

to remove an individual with a final order of removal to a third country. Similarly, Plaintiffs do

not define with particularity any liberty interest Defendants have violated and instead generally

assert that the Fifth Amendment prohibits Defendants’ conduct. This is plainly insufficient

particularly in light of the administrative processes, including a motion to reopen, currently

available to Plaintiffs which satisfy any cognizable due process requirements.

       Finally, Plaintiffs’ arguments regarding the remaining preliminary injunction factors fail

for similar reasons. Plaintiffs cannot make a sufficient showing of irreparable harm where they

claim they have a fear of removal to a third country but have failed to exhaust the administrative

                                                 1
        Case 1:25-cv-10676-BEM          Document 31        Filed 03/25/25      Page 3 of 24




remedies currently available to them. The public interest favors consistent application of the law

and Congress’ intent as expressed in the statute. That public interest is served here by Plaintiffs

asserting their claims on an individual basis before the Board of Immigration Appeals (“BIA”) or

immigration court—not in this Court. This Court should therefore deny Plaintiffs’ motion for

extraordinary, emergency relief.

                                   FACTUAL BACKGROUND
        The named Plaintiffs and proposed class members are aliens with final orders of removal.

Compl. ¶ 1; Exh. A. Plaintiff D.V.D. is a native and citizen of Cuba who entered the United States

at the San Ysidro Port of Entry from Mexico. Exh. A ¶ 24. In February of 2017, in removal

proceedings before an Immigration Judge (“IJ”), Plaintiff D.V.D. requested voluntary departure to

Cuba, but he was instead ordered removed. Compl. ¶ 62; Exh. A ¶ 29. Plaintiff D.V.D. was released

from detention on an Order of Supervision in May of 2017. Id. Plaintiffs allege that D.V.D. attends

regular check-ins with ICE’s Enforcement and Removal Office (“ERO”) in Burlington,

Massachusetts. Compl. ¶ 63. Plaintiffs allege that on March 10, 2025, ICE instructed Plaintiff

D.V.D.’s attorney that he needed to report for a check-in in person on March 28, 2025. Compl. ¶

64. Plaintiffs allege that the ICE officer explained ICE was requiring all people to report in person

and more frequently on a case-by-case basis. Compl. ¶ 66. Plaintiff D.V.D. is not in ICE custody.

Exh. A ¶ 33.

        Plaintiff M.M. is a native and citizen of Honduras. Compl. ¶ 68, Exh. A ¶ 34. In 2014, U.S.

Border Patrol agents determined Plaintiff M.M. had unlawfully entered the United States from

Mexico and was subject to a previous removal order that was reinstated. Compl. ¶ 68-69; Exh. A

¶ 36. In proceedings before an IJ in 2021, Plaintiff M.M. was granted withholding of removal to

Honduras under 8 U.S.C. § 1231(b)(3). Compl. ¶ 70. Plaintiff M.M. is not in ICE custody. Exh. A

¶ 38.

                                                 2
      Case 1:25-cv-10676-BEM           Document 31       Filed 03/25/25     Page 4 of 24




       Plaintiff E.F.D. is a native and citizen of Ecuador. Compl. ¶ 74; Exh. A ¶ 15. Plaintiff

E.F.D. arrived in the United States at an unknown time and place, and in October 2015, was placed

in removal proceedings under 8 U.S.C. §1229a. Exh. A ¶ 17. In 2018, in proceedings before an IJ,

Plaintiff E.F.D. was ordered removed to Ecuador, but granted withholding of removal. Compl.

¶ 75; Exh. A ¶ 18. On March 18, 2025, Plaintiff E.F.D.’s order of supervision was revoked and he

was taken into ICE custody. Compl. ¶ 76; Exh. A ¶ 19. ERO Boston is aware of the March 23,

2025, order requiring forty-eight hours’ notice prior to any transfer of E.F.D. outside the

jurisdiction of the United States District Court of Massachusetts, and Plaintiff E.F.D.’s removal

has not yet been scheduled. Exh. A ¶ 21-22.

       Plaintiff O.C.G. is a native and citizen of Guatemala who entered United States without

being admitted or paroled in March of 2024 and was issued an expedited removal order pursuant

to 8 U.S.C. § 1225(b) and deported to Guatemala. Compl. ¶ 78; Exh. A ¶ 4-6. In May of 2024,

Plaintiff O.C.G. reentered the United States, without being admitted or paroled, through Mexico.

Compl. ¶ 78-80; Exh. A ¶ 7-8. Plaintiff O.C.G was arrested by U.S. Border Patrol agents, and his

removal order was reinstated pursuant to 8 U.S.C. § 1231(a)(5), but he was referred to an asylum

officer based on an expressed fear of return to Guatemala. Compl. ¶ 79-80; Exh. A ¶ 8-9. Plaintiff

O.C.G. was then placed in withholding-only proceedings before an IJ in Arizona and was granted

withholding of removal to Guatemala under 8 U.S.C. § 1231(b)(3). Compl. ¶ 82; Exh. A ¶ 10-11.

Plaintiff O.C.G. remained in detention at Eloy detention Center. Compl. ¶ 85-86. In January of

2025, ERO verbally asked O.C.G. if he was afraid of being returned to Mexico. Exh. A ¶ 13. At

that time, O.C.G. stated he was not afraid of returning to Mexico, and on February 21, 2025, he

was removed to Mexico. Id. 13-14. Plaintiffs allege that Plaintiff O.G.C. was taken to Mexico by

bus with approximately 20 others, and once he was placed in detention in Mexico, he was informed



                                                3
       Case 1:25-cv-10676-BEM            Document 31        Filed 03/25/25      Page 5 of 24




by Mexican authorities that he could apply for asylum in Mexico or be returned to Guatemala.

Compl. ¶¶ 87-88. Plaintiffs allege that on February 25, 2025, Plaintiff O.C.G. returned to

Guatemala, where he remains today. Id. ¶ 89.

                                    LEGAL BACKGROUND
       A. Removal Proceedings
       Several classes of aliens are “inadmissible” and therefore “removable.” See 8 U.S.C.

§§ 1182, 1229a(e)(2)(A). These include aliens who lack a valid entry document “at the time of

application for admission.” Id. § 1182(a)(7)(A)(i)(I). An alien who arrives at a “port of entry,” i.e.,

a place where an alien may lawfully enter, must apply for admission. An alien present in the United

States without being admitted is likely an applicant for admission who is treated the same way. Id.

§§ 1225(a)(1), (3).

       If an alien is inadmissible, the alien may be removed. Removal proceedings pursuant to

§ 1229a involve an evidentiary hearing before an IJ, and at that hearing an alien may attempt to

show that he or she should not be removed. Among other things, an eligible alien may apply for

asylum on the ground that he or she would be persecuted on a statutorily protected ground if

returned to his or her home country. Id. §§ 1158, 1229a(b)(4); 8 C.F.R. § 1240.11(c) (2020). If

that claim is denied and the alien is ordered removed, the alien can appeal the removal order to the

BIA and, if that appeal is unsuccessful, the alien may petition for review in a federal court of

appeals. 8 U.S.C. § 1229a(c)(5), 1252(a). While removal proceedings are pending before an IJ or

an appeal is pending before the BIA, the alien will generally be detained or allowed to reside in

this country, with the attendant risk that he or she may not later be found. See 8 U.S.C. § 1226(a).

       While asylum is discretionary, withholding of removal under 8 U.S.C. § 1231(b)(3) and

protection under the regulations implementing U.S. obligations under the CAT, 8 C.F.R.

§§ 208.16-.18, 1208.16-.18, are mandatory and prohibit removal to a country where the alien will


                                                  4
       Case 1:25-cv-10676-BEM            Document 31         Filed 03/25/25      Page 6 of 24




likely be persecuted or tortured. See Moncrieffe v. Holder, 598 U.S. 184, 187 n.1 (2013).

        B. Reinstatement and Withholding-Only Proceedings
        Under 8 U.S.C. § 1231(a)(5), DHS may reinstate a prior order of removal for an alien it

finds “has reentered the United States illegally after having been removed or having departed

voluntarily, under an order of removal.” 8 U.S.C. § 1231(a)(5). When DHS reinstates a removal

order, the “prior order of removal is reinstated from its original date and is not subject to being

reopened or reviewed.” Id.

        If the alien expresses fear of persecution or torture, the alien is referred to USCIS for an

interview by an asylum officer to determine whether the alien possesses a “reasonable fear” of

return. 8 C.F.R. § 208.31(b). If the asylum officer determines that the alien has not established a

reasonable fear, the alien may request review of that determination by an IJ. 8 C.F.R. § 208.31(f).

If the IJ concurs with the determination that no reasonable fear of persecution or torture exists, the

case is returned to DHS for execution of the reinstated order of removal, and no administrative

appeal is available. 8 C.F.R. § 208.31(g)(1). If, on the other hand, the asylum officer determines

that the alien has established a reasonable fear of persecution or torture, the alien is referred to the

IJ for consideration of withholding of removal only (aliens with reinstated orders of removal are

not eligible for asylum). 8 C.F.R. § 208.31(e). In withholding-only proceedings, the IJ is limited

to consideration of eligibility for withholding and deferral of removal. 8 U.S.C. § 1231(a)(5)

(providing that an alien subject to reinstatement “is not eligible and may not apply for any relief

under [the INA]”); 8 C.F.R. § 1208.2(c)(3)(i) (“The scope of review in [withholding-only]

proceedings . . . shall be limited to a determination of whether the alien is eligible for withholding

or deferral of removal.”). Indeed, during withholding-only proceedings, “all parties are prohibited

from raising or considering any other issues, including but not limited to issues of admissibility,

deportability, eligibility for waivers, and eligibility for any other form of relief.” Id.

                                                   5
        Case 1:25-cv-10676-BEM                 Document 31           Filed 03/25/25         Page 7 of 24




         Withholding of removal is country-specific protection; thus, even if an alien ultimately

succeeds on his withholding claim, he could potentially be removed to an alternate country. See 8

U.S.C. § 1231(b)(2)(E); 8 C.F.R. § 1208.16(f); Johnson v. Guzman Chavez, 594 U.S. 523, 536

(2021); Lanza v. Ashcroft, 389 F.3d 917, 933 (9th Cir. 2004) (stating that a grant of withholding

“only prohibits removal of the petitioner to the country of risk, but does not prohibit removal to a

non-risk country”). Thus, the alien remains removable as an alien with a final order of removal.

         C. Third Country Removals
         Aliens subject to removal orders need not be removed to their native country. Generally,

aliens ordered removed “may designate one country to which the alien wants to be removed,” and

DHS “shall remove the alien to [that] country[.]” 8 U.S.C. § 1231(b)(2)(A). 1 In certain

circumstances, DHS will not remove the alien to their designated country, including where “the

government of the country is not willing to accept the alien into the country.” Id.

§ 1231(b)(2)(C)(iii). In such a case, the alien “shall” be removed to the alien’s country of

nationality or citizenship, unless that country “is not willing to accept the alien[.]” Id. §

1231(b)(2)(D). If an alien cannot be removed to the country of designation or the country of

nationality or citizenship, then the government may consider other options, including “[t]he

country from which the alien was admitted to the United States,” “[t]he country in which the alien

was born,” or “[t]he country in which the alien last resided[.]” Id. §§ 1231(b)(2)(E)(i), (iii)-(iv).

Where removal to any of the countries listed in subparagraph (E) is “impracticable, inadvisable,

or impossible,” then the alien may be removed to any “country whose government will accept the

alien into that country.” Id. § 1231(b)(2)(E)(vii); see Jama v. Immigr. & Customs Enf’t, 543 U.S.

335, 341 (2005). In addition, DHS “may not remove an alien to a country if the Attorney General


1
 There are separate but similar provisions that apply to arriving aliens who are processed for 240 proceedings upon
arrival. See 8 U.S.C. § 1231(b)(1). The provisions in 8 U.S.C. § 1231(b)(2) discussed below apply to all other aliens.

                                                          6
      Case 1:25-cv-10676-BEM            Document 31        Filed 03/25/25      Page 8 of 24




decides that the alien’s life or freedom would be threatened in that country because of the alien’s

race, religion, nationality, membership in a particular social group, or political opinion,” 8 U.S.C.

§ 1231(b)(3)(A); 8 C.F.R. §§ 208.16(a)-(b), 1208.16(a)-(b), or if it is more likely than not that the

alien would be tortured, 8 C.F.R. §§ 208.16(c), 208.17, 1208.16(c), 1208.17.

                                   STANDARD OF REVIEW
       “A preliminary injunction is an ‘extraordinary and drastic remedy.’” Voice of the Arab

World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011). In deciding a

preliminary injunction motion, the Court “must consider: (1) the plaintiff’s likelihood of success

on the merits; (2) the potential for irreparable harm in the absence of an injunction; (3) whether

issuing an injunction will burden the defendants less than denying an injunction would burden the

plaintiffs; and (4) the effect, if any, on the public interest.” Gonzales-Droz v. Gonzalez-Colon, 573

F.3d 75, 79 (1st Cir. 2009) (internal citation and quotation marks omitted). “The party seeking the

preliminary injunction bears the burden of establishing that these four factors weigh in its favor.”

Esso Std. Oil Co. (Puerto Rico) v. Monroig-Zayas, 445 F.3d 13, 18 (1st Cir. 2006). The movant’s

likelihood of success on the merits weighs most heavily in the preliminary injunction calculus,

Ryan v. U.S. Immigr. and Customs Enf’t, 974 F.3d 9, 18 (1st Cir. 2020), and if the movant “cannot

demonstrate that he is likely to succeed in this quest, the remaining factors become matters of idle

curiosity.” New Comm Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002).

Where, as here, a movant asks for a mandatory preliminary injunction, specifically with respect to

the return of O.C.G. to the United States, it should be granted only “when the exigencies of the

situation demand such relief.” Braintree Labs., Inc. v. Citigroup Glob. Markets Inc., 622 F.3d 36,

41 (1st Cir. 2010). The standard for relief under 5 U.S.C. § 705 has some “functional overlap”

with preliminary injunction and, as to the factors considered for each form of relief, there is

“substantial overlap.” Seafreeze Shoreside, Inc. v. U.S. Dep’t of Interior, Case No. 1:22-cv-11091-

                                                 7
         Case 1:25-cv-10676-BEM                Document 31           Filed 03/25/25          Page 9 of 24




IT, 2023 WL 3660689, at *3 (D. Mass. May 25, 2023) (quoting Nken v. Holder, 556 U.S. 418, 434

(2009)); see also Massachusetts Fair Hous. Center v. U.S. Dep’t of Hous. and Urb. Dev., 496 F.

Supp. 3d 600, 609 (D. Mass. 2020).

                                                  ARGUMENT
    I.       Class-Wide Relief is Inappropriate.
         As an initial matter, the Court must deny Plaintiffs’ improper request for preliminary

classwide relief because no class has been certified. In the absence of a certified class, a court

cannot grant classwide relief. Zepeda v. U.S. I.N.S., 753 F.2d 719, 728 n.1 (9th Cir. 1983)

(“Without a properly certified class, a court cannot grant relief on a class-wide basis.”). 2

         Plaintiffs ask the Court for a “provisional” class certification, ECF No. 7 at 19-20, but the

FRCP removed authority for conditional class certification over a decade ago. Courts generally

reject certification of a class before the thorough Rule 23 class certification is undertaken. See

Berge v. United States, 949 F. Supp. 2d 36, 49 (D.D.C. 2013) (citing Fed. R. Civ. P. 23 Advisory

Committee Notes 2003 Amendments (“The provision that a class certification ‘may be

conditional’ is deleted. A court that is not satisfied that the requirements of Rule 23 have been met

should refuse certification until they have been met.”)). Even those courts that permit provisional

certification require that a plaintiff satisfy all the requirements of class certification under Rule 23.

R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 179–80 (D.D.C. 2015) (citing Berg, 949 F. Supp. 2d at

49). Moreover, the Supreme Court has made clear that a class “may only be certified if the trial

court is satisfied, after a rigorous analysis, that the prerequisites of Rule 23(a) have been satisfied,”



2
  See also Davis v. Romney, 490 F.2d 1360, 1366 (3d Cir. 1974) (“Relief cannot be granted to a class before an order
has been entered determining that class treatment is proper.”); National Center for Immigrants Rights, Inc. v. INS, 743
F.2d 1365, 1371 (9th Cir. 1984) (same); Hollon v. Mathis Independent School District, 491 F.2d 92, 93 (5th Cir.
1974) (per curiam) (same); Davis v. Hutchins, 321 F.3d 641, 648-49 (7th Cir. 2003) (the district court improperly
awarded class damages when no class had been certified); see also Baxter v. Palmigiano, 425 U.S. 308, 310 n. 1
(1976) (same); Gardner v. Westinghouse Broadcasting Co., 437 U.S. 478, 481 (1978) (noting that class certification
controls “the scope of the relief that may ultimately be granted”).

                                                          8
       Case 1:25-cv-10676-BEM                   Document 31            Filed 03/25/25          Page 10 of 24




and “actual, not presumed, conformance with Rule 23(a) remains . . . indispensable.” Gen. Tel.

Co. of the S.W. v. Falcon, 457 U.S. 147, 160-61 (1982). Until the Court addresses Plaintiffs’

Motion for Class Certification (ECF No. 4) and certifies a class, the scope of any relief must be

limited to the named Plaintiffs.3 Accordingly, this Opposition addresses Plaintiffs’ requests for

preliminary relief related to the four named Plaintiffs.

    II.       Plaintiffs Are Not Likely to Succeed on the Merits of Their Claims.
          The Court should deny Plaintiffs’ motion for preliminary relief because they are not likely

to succeed on the merits of their claims. This Court lacks subject-matter jurisdiction over their

claims because 8 U.S.C. § 1252 precludes the review that they seek. Even if the Court had

jurisdiction, Plaintiffs still fail to plead plausible claims for relief. Because Plaintiffs are not likely

to succeed on the merits of their claims, the remaining factors are “matters of idle curiosity.” New

Comm Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002).




3
   Moreover, the Court lacks jurisdiction to certify Plaintiffs’ proposed class and lacks jurisdiction to order the
classwide relief that Plaintiffs seek. See, e.g., 8 U.S.C. §§ 1252(a)(2)(A), (e)(1)(B). For instance, any individual with
an expedited removal order cannot be part of the certified class. See 8 U.S.C. §§ 1252(a)(2)(A), 1252(e)(1)(B).
Moreover, the relief Plaintiffs seek would have the effect of enjoining or restraining DHS’s implementation of, inter
alia, 8 U.S.C. § 1231. But 8 U.S.C. § 1252(f)(1) explicitly bars such relief. Invoking 5 U.S.C. § 705, Plaintiffs ask
this Court to issue a “temporary stay of the February 18, 2025 directive,” ECF No. 7 at 21, restraining DHS’s use of
its authority to remove individuals to alternative countries under § 1231(b). Section 1252(f)(1) provides: “Regardless
of the nature of the action or claim or of the identity of the party or parties bringing the action, no court (other than
the Supreme Court) shall have jurisdiction or authority to enjoin or restrain the operation of the provisions of part IV
of this subchapter . . . other than with respect to the application of such provisions to an individual alien against whom
proceedings . . . have been initiated.” 8 U.S.C. § 1252(f)(1) (emphasis added). The Supreme Court held that
§ 1252(f)(1) “generally prohibits lower courts from entering injunctions that order federal officials to take or to refrain
from taking actions to enforce, implement, or otherwise carry out the specified statutory provisions.” Biden v. Texas,
597 U.S. 785, 797 (2022) (quoting Garland v. Aleman Gonzalez, 596 U.S. 543, 544 (2022)). Section 1231 is one of
the statutory provisions § 1252(f)(1) covers. Section 1252(f)(1) thus eliminates this Court’s authority to issue coercive
orders enjoining or restraining implementation of § 1231(b). A court order postponing agency action under § 705 is
such a coercive order. It would restrain DHS’s actions with respect to how it implements § 1231(b) and is thus
analogous to a preliminary injunction in that an order under § 705 purports to maintain the status quo pending
resolution of the merits. 5 U.S.C. § 705 (referencing “preserv[ation of] status or rights”). Defendants will fully address
these jurisdictional deficiencies, as well as Plaintiffs’ failure to satisfy the requirements of Rule 23, in their response
to Plaintiffs’ Motion for Class Certification.

                                                            9
      Case 1:25-cv-10676-BEM           Document 31        Filed 03/25/25       Page 11 of 24




       A. 8 U.S.C. § 1252 et seq. Precludes Review of Plaintiffs’ Claims.
       The jurisdiction of the federal courts is presumptively limited. Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 377 (1994). They “possess only that power authorized by

Constitution and statute, which is not to be expanded by judicial decree.” Id. (internal citations

omitted). As relevant here, in 1996, Congress passed the Illegal Immigration Reform and

Immigrant Responsibility Act (“IIRIRA”), which included provisions intended to deprive district

courts of jurisdiction over removal-based claims. Then, in 2005, Congress amended § 1252

through the Real ID Act to ensure that all review of final orders of removal would be channeled to

the courts of appeals and to “streamline what it saw as ‘bifurcated and piecemeal’ review of orders

of removal.” Ishak v. Gonzales, 422 F.3d 22, 28 (1st Cir. 2005).

         1. Section 1252(g) Bars Review of Plaintiffs’ Claims.
       Section 1252(g) bars claims arising from the three discrete actions identified in § 1252(g),

including, as relevant here, the decision or action to “execute removal orders.” Congress spoke

clearly, emphatically, and repeatedly, providing that “no court” has jurisdiction over “any cause

or claim” arising from the execution of removal orders, “notwithstanding any other provision of

law,” whether “statutory or nonstatutory,” including habeas, mandamus, or the All Writs Act. 8

U.S.C. § 1252(g). Accordingly, by its terms, this jurisdiction-stripping provision precludes habeas

review under 28 U.S.C. § 2241 (as well as review pursuant to the All Writs Act and Administrative

Procedure Act) of claims arising from a decision or action to “execute” a final order of removal.

See Reno v. American-Arab Anti-Discrimination Committee (“AADC”), 525 U.S. 471, 482 (1999).

       Plaintiffs’ claims plainly arise from ICE’s actions to execute their removal orders. Plaintiffs

claim they “cannot be removed” unless and until they have been provided “such notice and

opportunity to present a fear-based claim prior to deportation.” ECF No. 7 at 12. However, Courts

of Appeals have consistently held that claims like Plaintiffs’ seeking a stay of removal—even


                                                 10
       Case 1:25-cv-10676-BEM                  Document 31            Filed 03/25/25          Page 12 of 24




temporarily to assert other claims to relief—are barred by § 1252(g). See Rauda v. Jennings, 55

F.4th 773, 778 (9th Cir. 2022); Camarena v. Dir., ICE, 988 F.3d 1268, 1274 (11th Cir. 2021)

(“[W]e do not have jurisdiction to consider ‘any’ cause or claim brought by an alien arising from

the government’s decision to execute a removal order. If we held otherwise, any petitioner could

frame his or her claim as an attack on the government’s authority to execute a removal order rather

than its execution of a removal order.”); E.F.L. v. Prim, 986 F.3d 959, 964-65 (7th Cir. 2021)

(rejecting the argument that jurisdiction remained in similar circumstances because petitioner was

challenging, DHS’s legal authority as opposed to its “discretionary decisions”); Tazu v. Att’y Gen.

U.S., 975 F.3d 292, 297 (3d Cir. 2020) (observing that “the discretion to decide whether to execute

a removal order includes the discretion to decide when to do it” and that “[b]oth are covered by

the statute”) (emphasis in original); Hamama v. Adducci, 912 F.3d 869, 874–77 (6th Cir. 2018)

(vacating district court’s injunction staying removal, concluding that § 1252(g) stripped district

court of jurisdiction over removal-based claims and remanding with instructions to dismiss those

claims); Silva v. United States, 866 F.3d 938, 941 (8th Cir. 2017) (Section 1252(g) applies to

constitutional claims arising from the execution of a final order of removal, and language barring

“any cause or claim” made it “unnecessary for Congress to enumerate every possible cause or

claim”). Hamama v. Adducci, 912 F.3d 869, 874–77 (6th Cir. 2018). 4

         Of these, the Ninth Circuit’s decision in Rauda and the Sixth Circuit’s decision in Hamama

are particularly relevant. In Rauda, the Ninth Circuit considered whether § 1252(g) barred the

alien’s claim seeking to temporarily prevent his removal while his motion to reopen his removal


4
  See also E.F.L. v. Prim, 986 F.3d 959 964-65 (7th Cir. 2021) (rejecting the argument that jurisdiction remained in
similar circumstances because petitioner was challenging, DHS’s legal authority as opposed to its “discretionary
decisions”); Tazu v. Att’y Gen. U.S., 975 F.3d 292, 297 (3d Cir. 2020) (observing that “the discretion to decide whether
to execute a removal order includes the discretion to decide when to do it” and that “[b]oth are covered by the statute”)
(emphasis in original); Silva v. United States, 866 F.3d 938, 941 (8th Cir. 2017) (Section 1252(g) applies to
constitutional claims arising from the execution of a final order of removal, and language barring “any cause or claim”
made it “unnecessary for Congress to enumerate every possible cause or claim”).

                                                          11
       Case 1:25-cv-10676-BEM                  Document 31            Filed 03/25/25          Page 13 of 24




proceedings raising “new developments” regarding his CAT claim. 55 F.4th at 776-77. Plaintiff

claimed that the administrative procedures associated with his motion to reopen were

Constitutionally insufficient because they did not guarantee judicial review of these “new

developments” prior to his removal. Id. He argued that § 1252(g) did not apply to ICE’s allegedly

unlawful decision to remove him now. Id. at 777. The Ninth Circuit held that § 1252(g) “does not

include any temporal caveats” and nonetheless barred plaintiff’s claims.

         Similarly, in Hamama, a class of Iraqi nationals claimed that ICE could not enforce their

years-old removal orders without first providing them an opportunity to reopen their proceedings

and make new fear-based clams. The Sixth Circuit held that “[u]nder a plain reading of the text of

the statute, the Attorney General’s enforcement of long-standing removal orders falls squarely

under the Attorney General’s decision to execute removal orders and is not subject to review.” 912

F.3d at 874.

         Plaintiffs’ claims are no different than those rejected by numerous courts of appeals. They

seek to prevent their removal based on an assertion that their removal, at least temporarily, is

unlawful. But § 1252(g) contains no such exception for such claims regardless of their nature or

merit and therefore, this Court should deny Plaintiffs’ motion seeking to interfere with their

removal.

           2. Section 1252(a)(5) and (b)(9) Bar Review of Plaintiffs’ Claims.
         This Court also lacks jurisdiction over Plaintiffs’ claims concerning removal orders issued

under section 1229a given 8 U.S.C. § 1252(a)(5) and (b)(9). 5 Section 1252(b)(9) provides:



5 To the extent that Plaintiff O.C.G. is seeking to challenge his underlying expedited removal order from 2024, this

claim would instead be governed by 8 U.S.C. §§ 1252(a)(2)(A), (e)(2). Such review is only available in a habeas
corpus petition and is limited to an inquiry over whether: “(A) the petitioner is an alien, (B) whether the petitioner was
ordered removed under such section, and (C) whether the petitioner can prove by a preponderance of the evidence that
the petitioner is an alien lawfully admitted for permanent residence, [or is a refugee or has been granted non-terminated
asylum].” See 8 U.S.C. § 1252(e)(2).

                                                           12
      Case 1:25-cv-10676-BEM            Document 31        Filed 03/25/25      Page 14 of 24




           Judicial review of all questions of law and fact, including interpretation and
           application of constitutional and statutory provisions, arising from any action
           taken or proceeding brought to remove an alien from the United States under
           this subchapter shall be available only in judicial review of a final order under
           this section. Except as otherwise provided in this section, no court shall have
           jurisdiction, by habeas corpus under section 2241 of Title 28 or any other
           habeas corpus provision, by section 1361 or 1651 of such title, or by any other
           provision of law (statutory or nonstatutory), to review such an order or such
           questions of law or fact.

8 U.S.C. § 1252(b)(9). Section 1252(a)(5) provides that [n]otwithstanding any other provision of

law (statutory or nonstatutory) . . . or any other habeas corpus provision . . . a petition for review

filed with an appropriate court of appeals in accordance with this section shall be the sole and

exclusive means for judicial review of an order of removal . . .”

       As the First Circuit has noted, § 1252(b)(9)’s “expanse is breathtaking.” Aguilar v. U.S.

Immigration & Customs Enf’t Div. of the Dep’t of Homeland Sec., 510 F.3d 1, 9-12 (1st Cir. 2007).

“Congress’s purpose in enacting § 1252(b)(9) is evident”; it was designed to consolidate and

channel review of all legal and factual questions that arise from the removal of an alien into the

administrative process, with judicial review of those decisions vested exclusively in the courts of

appeals. Id. at 9 (citing 8 U.S.C. § 1252(a)(5)). While “these words cannot be read to swallow all

claims that might somehow touch upon, or be traced to, the government’s efforts to remove an

alien,” id. at 10, they, at a minimum, bar claims that can be “raised efficaciously within the

administrative proceedings delineated by the INA.” Id. at 11.

       Each of the named Plaintiffs that are still within the United States can assert fear of return

to a third country through the administrative process. 8 U.S.C. § 1229a(c)(7); 8 C.F.R.

§ 1003.2(c); see, e.g., Charles v. Garland, 113 F.4th 20, 23 (1st Cir. 2024) (describing the sua

sponte motion to reopen process under 8 C.F.R. § 1003.2(c)(2) and providing for review of denials

of such motions by the BIA in limited circumstances). They can also seek an emergency stay of



                                                 13
      Case 1:25-cv-10676-BEM            Document 31         Filed 03/25/25      Page 15 of 24




removal as a part of the administrative process. See generally 8 C.F.R. § 1003.2(f), 1003.23(b)(v).

Plaintiffs therefore already have the ultimate procedural protection they seek—those protections

are just not before this Court. For this reason, their claims are unquestionably barred by

§1252(a)(5) and (b)(9).

       B. Plaintiffs cannot establish that their removal would violate any statute or
          regulation.
       Plaintiffs’ claim that Defendants are violating the INA and its regulations fails on its face.

Plaintiffs repeatedly assert that Defendants’ “policy or practice of failing to afford meaningful

notice and an opportunity to present a fear-based claim prior to removal to a third country” is

“[c]ontrary to the statute and regulations.” ECF No. 7 at 11, 13. But Plaintiffs notably do not

identify any statutory or regulatory provision that mandates a written notice or any particular

procedures that must be followed when DHS seeks to remove an individual with a final order of

removal to a third country. Instead, Plaintiffs repeatedly cite to general provisions about relief from

removal and the procedures available to aliens when they have on-going immigration proceedings

but make no plausible claim that DHS has violated any mandatory statutory requirements. In

reality, Plaintiffs are asking this Court to instead graft on an extra-statutory requirement with no

basis in the relevant text of the INA or its regulations.

       Plaintiffs cite 8 U.S.C. § 1231(b)(3)(A) for the proposition that the named Plaintiffs cannot

be removed to a third country where their life might be threatened, and this therefore creates a

mandatory notice requirement before an individual may be removed to a third country. ECF No. 7

at 2. But that’s plainly not what § 1231(b)(3)(A) says. Instead, that provision merely provides the

basic eligibility requirements for withholding of removal under the INA and states that DHS “may

not remove an alien to a country if the Attorney General decides that the alien’s life or freedom

would be threatened in that country” on account of a protected ground. 8 U.S.C. § 1231(b)(3)(A).


                                                  14
      Case 1:25-cv-10676-BEM           Document 31        Filed 03/25/25     Page 16 of 24




Plaintiffs do not allege that DHS is seeking to remove any of the four Plaintiffs to a country where

the Attorney General has determined they would be harmed (i.e., a country from which they have

been granted withholding of removal under the INA). Accordingly, Plaintiffs have not made any

showing that Defendants are violating this statute or any other provisions of the INA.

       Similarly, Plaintiffs repeatedly allege that Defendants are violating certain regulatory

provisions, including 8 C.F.R. §§ 1208.16(c), 1208.17(a) and 28 C.F.R. § 200.1. But, again, these

provisions merely provide the basic eligibility requirements for receiving protection under the

CAT; i.e., that an “alien who: has been ordered removed; has been found under § 1208.16(c)(3) to

be entitled to protection under the Convention Against Torture [. . .] shall be granted deferral of

removal to the country where he or she is more likely than not to be tortured.” 8 C.F.R.

§ 1208.17(a). Plaintiffs do not allege that DHS is seeking to remove any of the four Plaintiffs to a

country where an IJ has determined it is more likely than not that they would be tortured (i.e., a

country from which they have been granted protection under the CAT). Plaintiffs also cite to

various other regulatory provisions governing the procedures available to aliens in certain removal

proceedings before an IJ. ECF No. 7 at 4-5 (citing, inter alia, 8 C.F.R. §§ 1240.10(f),

1240.11(c)(1)). But Plaintiffs do not allege that these procedures were not followed during their

removal proceedings, nor would this Court have jurisdiction to review such claims even if they

did. See § II.A.2, supra. Accordingly, Plaintiffs have not made any showing that Defendants are

violating these regulations or any other regulatory provisions.

       Inexplicably, Plaintiffs reference the procedures by which DHS may seek to reopen an

individual’s IJ proceedings and terminate a prior grant of CAT protection to a particular country.

ECF No. 7 at 12-13 (describing the procedures at 8 C.F.R. § 1208.17(d)(1)). But these procedures

are inapposite because there is no allegation that DHS is seeking to terminate the CAT protection



                                                15
      Case 1:25-cv-10676-BEM           Document 31        Filed 03/25/25     Page 17 of 24




previously granted to Plaintiffs M.M. or E.F.D., or that DHS removed Plaintiff O.C.G. to a country

from which he was granted withholding of removal under the INA. And the CAT termination

procedures do not apply where Defendants seek to remove someone to a third country from which

the individual has never been granted withholding or deferral of removal. Indeed, Plaintiffs’ non

sequitur reference to these procedures inadvertently exposes the weakness of their argument,

because unlike with the termination of CAT protection, there is no equivalent statutory or

regulatory requirement to reopen an individual’s removal proceedings before removing them to a

third country. Accordingly, Plaintiffs’ vague assertions that Defendants are violating any such

procedures are without merit.

       In reality, and as Plaintiffs acknowledge, ECF No. 1 ¶¶ 30-33, the INA expressly grants

DHS the authority to remove individuals to various alternate or third countries in an effort to find

a country that will accept them, including: the country in which they were born; the country from

which they were admitted to the United States; a country in which they resided before they entered

the country from which they entered the United States; or, in certain circumstances, “another

country whose government will accept the alien into that country.” See, e.g., 8 U.S.C.

§ 1231(b)(2)(E); Jama, 543 U.S. at 341. Moreover, an individual granted withholding of removal

under the INS may still be removed to a third country, see 8 U.S.C. § 1231(b)(2), and an individual

granted protection under the CAT may still be removed “at any time,” to a third country, see 8

C.F.R. § 1208.17(b)(2). Nothing about the “February 18, 2025 directive” Plaintiffs reference,

which merely instructs officers to “determine the viability of removal to a third country and

accordingly whether the alien should be re-detained,” ECF No. 1-4 at 2, is contrary to these

statutory and regulatory provisions allowing removal to third countries.




                                                16
      Case 1:25-cv-10676-BEM            Document 31         Filed 03/25/25      Page 18 of 24




       In sum, despite Plaintiffs’ repeated assertions that DHS is acting contrary to the statute and

regulations when seeking to remove individuals to a third country, their Motion never actually

identifies any statute or regulation that has been violated. Accordingly, they fail to demonstrate

that Defendants are acting in violation of the INA or its regulations.

       C. Plaintiffs also do not establish that their removal would violate due process.
       Plaintiffs’ next claim that their removal would violate their rights under the Due Process

Clause of the Fifth Amendment, but they fail to state a valid claim. As an initial matter, Plaintiffs

do not have a due process right to remain in the United States because they have already been

ordered removed in their underlying removal proceedings. See Enwonwu v. Gonzales, 438 F.3d

22, 30 (1st Cir. 2006) (refusing to find a due process right to remain in the United States where the

alien had been ordered removed); Pena-Muriel v. Gonzales, 489 F.3d 438, 433 (1st Cir. 2007)

(“[T]he fact that a vacatur may be an ‘appropriate’ basis for reopening a deportation order does

not establish a due process right to such reopening after one has departed the country.”). Plaintiffs

cite to several cases from other circuits regarding the due process requirements afforded to

individuals while they are in pending removal proceedings, see ECF No. 7 at 13, but they do not

identify a specific liberty interest that they believe DHS has violated or will violate. Therefore, at

least as a general matter, Plaintiffs do not state any claim that their due process rights are being

violated.

       Nevertheless, Plaintiffs appear to assert a procedural due process violation in that they

allege they will be deprived of “any notice or opportunity to present a fear-based claim prior to

deportation to a third country.” ECF No. 7 at 14. Assuming arguendo that this is a protected liberty

interest entitled to the protections of due process, Plaintiffs still fail to allege a violation of that

interest. The essential requirements of procedural due process are: (1) notice; and (2) an

opportunity to be heard. Goldberg v. Kelly, 397 U.S. 254, 267-68 (1970); Gorman v. Univ. of R.I.,

                                                  17
      Case 1:25-cv-10676-BEM            Document 31        Filed 03/25/25      Page 19 of 24




837 F.2d 7, 12 (1st Cir. 1988). Plaintiffs do not demonstrate that they have been or will be

imminently deprived of these requirements.

       Plaintiff O.C.G. was notified that DHS intended to remove him to Mexico and was given

an opportunity to state a fear of return to Mexico. Exh. A at ¶ 13. He did not do so and was removed

to Mexico. Id. at ¶ 13-14. Plaintiff E.F.D. has been re-detained in preparation for DHS to remove

him to a third country. Id. at ¶ 20. His removal has not been scheduled. Id. at ¶ 21. At this time, he

has an opportunity to file a motion to reopen and assert claims for relief and protection from

removal to additional countries, if he wishes. He does not allege that he has sought to do so.

Plaintiff D.V.D. is not currently detained, has a final order of removal, and no relief preventing his

removal to Cuba. Id. at ¶¶ 29, 30, 33. He alleges “on information and belief” that DHS intends to

re-detain him and has plans to remove him to a third country without notice. ECF No. 7 at 7. He

further speculates that DHS will actually remove him to a third country and that he will be at risk

of persecution in that hypothetical third country. Id. at 8. But these allegations are merely

speculative at this time and, moreover, he does not allege that he has sought to reopen his removal

proceedings to assert a fear or seek relief from removal to any third country. Finally, Plaintiff M.M.

is not currently detained and has been enrolled in the Alternatives to Detention Program. Exh. A

at ¶¶ 38-40. At this time, she has an opportunity to file a motion to reopen her proceedings and

assert claims for relief or protection from removal to additional countries, if she wishes.

       Accordingly, even assuming Plaintiffs’ removal would implicate a protected due process

right, no Plaintiff has demonstrated that they will be deprived of “any notice or opportunity to

present a fear-based claim prior to deportation to a third country.” ECF No. 7 at 14. Plaintiff O.C.G.

was notified of DHS’s intent to remove him to a third country and given the opportunity to assert




                                                 18
       Case 1:25-cv-10676-BEM                  Document 31            Filed 03/25/25          Page 20 of 24




a fear-based claim. Plaintiff E.F.D.6 and M.M. have the opportunity to seek to reopen their

immigration proceedings in order to assert a fear-based claim. They do not allege that they have

done so. Accordingly, the basic requirements of notice and an opportunity to be heard have been

satisfied with respect to these three Plaintiffs.

           Finally, DHS has neither re-detained Plaintiff D.V.D. nor indicated that it will seek to

remove him to Cuba or to any other country. Therefore, his claim that he will be removed to a third

country without notice or opportunity to present a fear-based claim is purely speculative at this

time. Accordingly, his due process claim is not ripe for judicial review. Texas v. United States,

523 U.S. 296, 300 (1998) (a “claim is not ripe for adjudication if it rests upon contingent future

events that may not occur as anticipated, or indeed may not occur at all.” (cleaned up)). This Court

should decline to entangle itself in an abstract dispute about what process Plaintiff D.V.D. might

receive and whether this process would satisfy due process and instead conclude that his claims

are simply not ripe. See United Pub. Workers v. Mitchell, 330 U.S. 75, 89 (1947) (noting that

Article III standing requires “concrete legal issues, presented in actual cases, not abstractions”).

For these reasons, each Plaintiff fails to demonstrate a likelihood of success on the merits of their

due process claims.

    III.      The Remaining Preliminary Injunction Factors Do Not Favor Plaintiffs.
           When a movant fails to establish that he is likely to succeed on the merits, “the remaining

[preliminary injunction] factors become matters of idle curiosity.” New Comm Wireless Servs.,


6
  Plaintiffs suggest that re-detention in order to effectuate removal to a third country is unlawful. ECF No. 7 at 11
(“alleging that Defendants are “depriving them of their liberty by subjecting them to re-detention that is not tied to a
lawful removal process”). Plaintiff E.F.D. is the only Plaintiff currently detained. To the extent that E.F.D. seeks to
bring a due process claim challenging his current detention, that claim similarly fails. As noted above, it is uncontested
that ICE may lawfully remove individuals, including those granted withholding of removal under the INA or
protection under the CAT, to alternate or third countries. See, e.g., 8 U.S.C. § 1231(b)(1), (b)(2); 8 C.F.R. §
1208.17(b)(2). Moreover, it is well established that detention in order to effectuate removal is a lawful part of the
removal process. See generally Zadvydas v. Davis, 533 U.S. 678 (2001). Therefore, any due process claim challenging
the lawfulness of Plaintiff E.F.D.’s detention similarly fails.


                                                           19
      Case 1:25-cv-10676-BEM           Document 31        Filed 03/25/25      Page 21 of 24




Inc., 287 F.3d at 9. As explained above, Plaintiffs are not likely to succeed on the merits of their

claims. Consequently, they are not entitled to preliminary relief regardless of the other preliminary

injunction factors.

       Regardless, Plaintiffs cannot meet their burden to demonstrate that they will suffer

irreparable harm in the absence of an injunction because they already have access to the relief they

seek. Plaintiffs are all aware that ICE may seek to remove them to a third country and yet none of

them have they sought to reopen their removal proceedings to assert such a fear. ECF Nos. 8-1, 8-

2, 8-3, 8-4. Indeed, ICE asked O.C.G. prior to his removal whether he had a fear of return to

Mexico which he answered in the negative. Exh. A at ¶ 13. Plaintiffs already have the “notice and

an opportunity to present a fear-based claim,” ECF No. 7 at 14, that they seek from ICE; therefore,

they cannot meet their burden to demonstrate irreparable harm in the absence of an injunction.

       The key point regarding the remaining two preliminary injunction factors is that “the public

interest favors applying the federal law correctly.” Small v. Avanti Health Sys., LLC, 661 F.3d

1180, 1197 (9th Cir. 2011); see Nken v. Holder, 556 U.S. 418, 435 (2009) (noting that in the

immigration context “assessing the harm to the opposing party and weighing the public interest”

merge when the government is the opposing party). There is also “strong public interest in bringing

[immigration] litigation to a close as promptly as is consistent with the interest in giving the

adversaries a fair opportunity to develop and present their respective cases.” Immigration &

Naturalization Serv. v. Abudu, 485 U.S. 94, 107 (1988). Congress plainly intended that Plaintiffs’

claims related to the removal process be channeled through the administrative process and,

eventually, the Courts of Appeals. Plaintiffs’ motion seeking relief and protection from removal

while administrative remedies remain available “undermines the streamlined removal proceedings

IIRIRA established.” Nken, 556 U.S. at 436. It also undermines the “public interest in prompt



                                                 20
      Case 1:25-cv-10676-BEM            Document 31        Filed 03/25/25       Page 22 of 24




execution of removal orders.” Id. This Court should therefore deny Plaintiffs’ motion and direct

their claims to the appropriate forums before the agency.

   IV.      The Court Should Require Plaintiffs to Post Security.
         Pursuant to Federal Rule of Civil Procedure 65(c), “[t]he court may issue a preliminary

injunction or a temporary restraining order only if the movant gives security in an amount that the

court considers proper to pay the costs and damages sustained by any party found to have been

wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c) (emphasis added). To the extent that the

Court grants relief to Plaintiffs, Defendants respectfully request that the Court require Plaintiffs to

post security for any taxpayer funds expended during the pendency of the Court’s order.

                                          CONCLUSION
         For the forgoing reasons, this Court should deny Plaintiffs’ Motion for a Temporary

Restraining Order, Preliminary Injunction, and Stay of Administrative Action (ECF No. 7).




                                                  21
     Case 1:25-cv-10676-BEM          Document 31   Filed 03/25/25   Page 23 of 24




Respectfully submitted,
YAAKOV M. ROTH
Acting Assistant Attorney General

EREZ REUVENI
Acting Deputy Director

ELIANIS N. PEREZ
Assistant Director

MATTHEW P. SEAMON
Senior Litigation Counsel

AYSHA IQBAL
DANIEL CAPPELLETTI
Trial Attorneys

/s/Mary L. Larakers
MARY L. LARAKERS
(Texas Bar # 24093943)
Senior Litigation Counsel
U.S. Department of Justice, Civil Division
Office of Immigration Litigation
P.O. Box 868, Ben Franklin Station
Washington, DC 20044
(202) 353-4419
(202) 305-7000 (facsimile)
mary.l.larakers@usdoj.gov




                                             22
      Case 1:25-cv-10676-BEM           Document 31        Filed 03/25/25      Page 24 of 24




                                 CERTIFICATE OF SERVICE

        I, Mary Larakers, Senior Litigation Counsel, hereby certify that this document filed through
the ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                      /s/ Mary L. Larakers
                                                      Mary L. Larakers
Dated: March 25, 2025                                 Senior Litigation Counsel




                                                 23
